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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DlSTRlCT OF DELAWARE

ll\l RE:
Chapter ll

Case No. 18-12635(LSS)
Judge Silverstein

DAVlD’S BRIDAL, INC.,

Debtor.

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APPEARANCE OF COUNSEL AND
REQUEST FOR COPIES OF ALL NOTICES,
DOCUMENTS AND PLEADINGS

 

 

 

Please take notice that the LaW Fimi of Wiles & Wiles, LLP counsel for Otay l\/lain
Street, LL.C hereby enters its appearance of counsel and requests that all notices given or
required to be given in this case, and all papers, pleadings and documents filed or served or
required to be filed in this case, be given to and served upon the following person as
attorney l`or Otay l\/lain Street, LLC:

Victor W. Newmark, Esq.

Wiles & Wiles, LLP

800 Kennesavv Avenue, Suite 400
l\/[arietta, Georgia 30060-7946
bankruptcy@evict.net

This request for notice encompasses, but is not limited to, all notices, copies,
documents and pleadings referred to, inter B, in Rules 2002, 3017, or 9007 of the

Banl<ruptcy Rules and Without limitation, notices of any orders_, motions, demands,

complaints, petitions, pleadings, requests, applications, or any other document brought

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before this Court in any case, Whether formal or informal, written or oral, or transmitted by
mail delivery_, CM/ECF, telephone, telegraph, telex or otherwise which affect or seek to
affect the above case.

ring 23th day er November ,2013.

Respectfully submitted,

/s/Victor W. Newmark
Victor W. Newmarl<, lE;sq.
Georgia Bar No. 541405

OfCounsel:

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